
54 N.Y.2d 637 (1981)
Avon Products, Inc., Appellant,
v.
Sheldon H. Solow, Doing Business as Solow Building Company, Respondent.
Court of Appeals of the State of New York.
Decided June 18, 1981.
Herbert M. Wachtell, Peter D. McKenna and Richard B. Skaff for appellant.
Joel M. Miller, Robert J. McDonald, Martin D. Edel and Arline Mann for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER and MEYER. Taking no part: Judge FUCHSBERG.
On summary consideration, order affirmed, with costs, and question certified answered in the affirmative. The arbitration clause at issue is broad enough to embrace all disputes concerning the correctness of the rental increase notice given by defendant to plaintiff.
